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 1
 2                                  UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
 4                                                     ***
 5 UNITED STATES OF AMERICA,                         )
                                                     )
 6                  Plaintiff,                       )
                                                     )        2:07-cr-0014-JCM-RJJ
 7 vs                                                )
                                                     )
 8 RENE OSWALD COBAR,                                )
                                                     )
 9                  Defendant,.                      )
   ____________________________________)
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                                                     ORDER
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           Presently before the court is a letter regarding the denial of a 28 U.S.C. § 2255 petition by
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   Luis A. Gonzalez-Largo filed on August 15, 2012. (Doc. # 378). The court denied the § 2255
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   petition. (Doc. # 375). From the letter it appears that petitioner believes the court denied his § 2255
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   petition because he failed to file a reply. (See doc. # 378). Petitioner asks the court to “take this letter
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   under advisement and return confirmation of retracting order issued.” (Doc. # 378). The court will
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   construe this letter as both a motion to reconsider the denial of the § 2255 petition and a motion
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   seeking a certificate of appealability.
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   I.      Reconsideration of the denial of the § 2255 petition
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           When reviewing a motion to reconsider the denial of a 2255 petition, the district court should
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   consider any new evidence, change in law, clear error, or manifest injustice. See Culler v. Board of
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   Prison Terms, 405 Fed.Appx. 263, 264 ("The district court also did not abuse its discretion when
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   denying Culler's motions for reconsideration since Culler did not identify any new evidence, change
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   in law, clear error, or manifest injustice.") (discussing § 2254 habeas petitions).
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           In petitioner's letter, he correctly states that "in the very first paragraph" denying his § 2255
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   petition the court stated that petitioner "failed to file a replay [sic]." (Doc. # 378.) Petitioner then
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   devotes the remainder of the letter explaining that he was not late in filing a reply. (See doc. # 378).
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   In the court's order denying the § 2255 petition, the court did not deny the petition because petitioner
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   did not file a non-mandatory reply. Rather, the court dedicates over three pages of discussion and
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 1 clearly denies each of petitioner's four claims raised in the § 2255 on their respective merits. (See
 2 doc. # 375). Simply, the court denied the § 2255 on its merits, and not because of the omission of
 3 a reply. The court denies the motion to reconsider the § 2255 petition.
 4 II.       Certificate of appealability
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             Rule 11(a) of the Rules Governing Section 2255 Proceedings for the United States District
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     Courts states that "[a] motion to reconsider a denial does not extend the time to appeal.” Rule 11(b)
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     then states that "Federal Rule of Appellate Procedure 4(a) governs the time to appeal an order entered
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     under these rules." Under Rule 4(a) of the Federal Rules of Appellate Procedure, petitioner's window
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     to file a notice of appeal has not yet closed.
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             The order denying the § 2255 petition is silent on the issue of a certificate of appealability.
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     Before the petitioner can appeal the denial of a § 2255 motion, a certificate of appealability must
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     issue. See 28 U.S.C. § 2253. Further, a certificate of appealability may issue “only if the applicant
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     has made a substantial showing of the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2), and
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     the certificate of appealability must “indicate which specific issue or issues satisfy” the requirement,
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     28 U.S.C. § 2253(c)(3). To make this substantial showing, petitioner must demonstrate “that
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     reasonable jurists could debate whether (or, for that matter, agree that) the petitioner should have been
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     resolved in a different manner or that the issues presented were adequate to deserve encouragement
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     to proceed further.” Slack v. McDaniel, 529 U.S. 473, 483-84 (2000).
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             Petitioner has failed to make a substantial showing of the denial of a constitutional right for
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     all the reasons clearly articulated in the denial of the § 2255 petition. (See doc. # 375). The letter
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     presently before the court (doc. # 378) only raises the issue of the court not considering petitioner’s
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     reply. However, the court not considering a non-mandatory reply in a § 2255 petition does not
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     constitute the denial of a constitutional right. A certificate of appealability is denied.
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 1         Accordingly,
 2         IT IS HEREBY ORDERED ADJUDGED AND DECREED that petitioner’s letter construed
 3 as a motion to reconsider and a motion seeking a certificate of appealability (doc. # 378) be, and the
 4 same hereby is, DENIED.
 5         DATED September 6, 2012.
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 7                                                       _______________________________
                                                         UNITED STATES DISTRICT JUDGE
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